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                      UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE


 RICHARD E. KAPLAN,                   )
                                      )
                    PLAINTIFF         )
                                      )
 v.                                   )           CIVIL NO. 05-144-B-H
                                      )
 FIRST HARTFORD                       )
 CORPORATION AND                      )
 NEIL ELLIS,                          )
                                      )
                    DEFENDANTS        )


      DECISION AND ORDER ON THE REPORT OF THE SPECIAL MASTER


       In this corporate oppression case, I appointed Attorney George J. Marcus

 as Special Master to determine whether the corporation is financially able to

 purchase the oppressed shareholder’s shares and under what circumstances;

 and, if the corporation cannot do so, whether the controlling shareholder can.

 The Special Master filed his Report on September 14, 2009.         The primary

 issues now are whether the Special Master followed my Order in what he did

 and did not address in his Report; whether the buyout schedule he devised is

 appropriate; and the nature and computation of pre- and postjudgment

 interest.   The plaintiff filed objections to the Special Master’s Report; the

 defendants filed a motion to modify it; other shareholders as amici curiae filed

 a legal memorandum in support of the defendants’ position.
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        After notice and a hearing on November 16, 2009, and upon de novo

 review of the issues that the parties raise,1 I ADOPT the Report of the Special

 Master with one exception noted below.                    The plaintiff’s Objections are

 SUSTAINED    IN PART    as to postjudgment interest but otherwise OVERRULED.                    I

 DENY the defendants’ Motion to Modify the Report of the Special Master to

 strike references to prejudgment interest and GRANT the plaintiff’s request for

 prejudgment interest on the terms described below.

                                         BACKGROUND

        This case began in March 2005.              Richard Kaplan, a nineteen-percent

 (19%) shareholder of First Hartford Corporation (“First Hartford”), sued the

 company and its controlling shareholder, Neil Ellis, alleging, among other

 things, shareholder oppression.2            The litigation proceeded in three stages.

 First, after a bench trial in November 2006, I ruled that First Hartford and Ellis

 had treated minority shareholders oppressively.3 Second, in November 2007,

 after the parties extensively briefed the remedy issue, I determined that First

 Hartford should buy Kaplan’s shares.4               Third, after further briefing and a

 bench trial at which the parties presented opinion evidence on First Hartford’s

 fair value from three experts, I found that First Hartford was worth $15 million


 1 See Fed. R. Civ. P. 53(f)(3-4). The defendant Ellis’s lawyer argued at the hearing on
 November 16, 2009 that the Master’s interpretation of my Order concerning what he should
 consider was a procedural decision subject to review for abuse of discretion under Rule 53(f)(5),
 but I conclude that it is substantive and subject to de novo review.
 2 The details of the case are contained in my Findings of Fact and Conclusions of Law

 (“Liability Decision”) (Docket Item 81) and in the Report of the Special Master (Docket Item
 213). I will not repeat them here.
 3 Liability Decision at 44.
 4 Findings of Fact and Conclusions of Law Part 2: Remedy at 4 (“Remedy Decision”) (Docket

 Item 116).


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 (or $4.87 per share) as of September 15, 2005, the date Kaplan filed his

 complaint.5

        With liability, remedy, and valuation decided, the parties tried to reach

 an agreement on the mechanics of the buyout, but could not settle on a

 solution. After consulting with the parties and other shareholders, whom I had

 allowed to intervene as amici curiae, I appointed Attorney Marcus as Special

 Master and ordered him to determine:

                     1.     Whether First Hartford Corporation has the
               capacity to buy outright and promptly the Richard Kaplan
               shares as I have defined them at the value I have assigned,
               without adversely impacting the corporation’s ability to do
               business and to continue as a viable company in its
               business pursuits for the benefit of other shareholders.

                      2.     If outright and prompt purchase is not
               possible, the most reasonably speedy schedule for doing so
               and commercially reasonable terms providing fair
               protection for Richard Kaplan to secure any delayed or
               extended payment.

                     3.     If First Hartford Corporation cannot purchase
               the shares, whether Neil Ellis can purchase the shares and
               under what circumstances, with commercially reasonable
               assurance of payment to Richard Kaplan.

                      4.     [T]he impact of the assessment of pre-
               judgment interest on the answer to question #1 and, if
               relevant, #2, and if relevant, #3.6

 As detailed in the Special Master’s Report, he met with the parties on several

 occasions in July, August, and September 2009.7                 Both parties submitted

 documents and information to the Special Master, responded to questions

 5 Findings of Fact and Conclusions of Law Part 2: Valuation at 25 and n.43 (“Value Decision”)

 (Docket Item 192). Given this valuation and under the assumption that Kaplan owns 591,254
 shares of First Hartford stock, Kaplan is entitled to $2,879,406.98. Report at 3.
 6 Order Appointing Special Master at 1-2 (Docket Item 209).
 7 Report at 4-9.




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 posed by him, and submitted comments and objections to the Special Master’s

 draft report.8    The Special Master issued his final report on September 14,

 2009.

         The Special Master found that while First Hartford could not buy

 Kaplan’s shares outright and promptly (Question #1), it could pay $500,000

 immediately; execute a note for and pay the remainder of the purchase price of

 Kaplan’s shares at $4.87/share over five years, which the Special Master

 determined was a reasonably speedy schedule (Question #2); offer Kaplan

 commercially reasonable security (Question #2); and pay prejudgment interest

 without affecting First Hartford’s ability to perform the buyout and continue in

 business (Question #4).9 Since the Special Master found that First Hartford

 could buy Kaplan’s shares on a reasonably speedy schedule with commercially

 reasonable security, he did not evaluate Ellis’s ability to purchase the shares

 (Question #3).10

                                     DISCUSSION

 (A)     The Special Master’s Decision Not to Assess Ellis’s Finances

         Kaplan contends that after finding that First Hartford could not buy his

 shares outright and promptly, the Special Master should have determined not

 only the most reasonably speedy schedule on which First Hartford could

 perform with commercially reasonable security to Kaplan, but also how Ellis’s

 ability to purchase the shares could assist First Hartford in performing the


 8 Id.
 9 Id. at 18-21.
 10 Id. at 20.




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 buyout.11 Kaplan’s objection poses two questions: whether the Special Master

 properly understood my Order; and, if he did, whether his conclusion that First

 Hartford could perform satisfies the standards that I established in my Order.

 I review such mixed questions of fact and law de novo.

        The Special Master properly understood his duties.                   Once the Special

 Master found that First Hartford could purchase the Kaplan shares under the

 terms described in question two of my Order, he did not need to answer

 question three. That would have been necessary only if First Hartford could

 not purchase the shares on a commercially reasonable basis.12 The plaintiff’s

 objection regarding the scope of the Special Master’s duties is OVERRULED.

 (B)    The Special Master’s Finding of a Reasonably Speedy Buyout

        Kaplan objects that the Special Master’s proposed five-year buyout

 schedule is not “reasonably speedy” given the circumstances of this case.

 Specifically, he contends that the Special Master settled for the “best FHC can

 do” rather than focus on my requirement that a buyout be accomplished with

 reasonable speed.13 Kaplan notes that there is no generally accepted definition

 of “reasonably speedy” in connection with applying the Maine Business

 Corporation Act14 and argues that the Special Master was wrong to take

 guidance from standards established by Chapter 11 of the Bankruptcy Code


 11 Pl. Richard E. Kaplan’s Objections to the Report of the Special Master at 2 (Docket Item 216).
 12 Question #4 of my Order states that the Special Master should determine how a prejudgment
 interest award would affect the answer to “question #1 and, if relevant, #2, and if relevant, #3.”
 Order at 2. Question#4 therefore clearly contemplates that the Master could stop his inquiry
 at Question #2, without proceeding to Question #3.
 13 Pl.’s Objections at 3-4.
 14 Oral Argument Tr., Nov. 16, 2009.




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 and voluntary private-company buyouts.15 Kaplan maintains that the Special

 Master should have determined what is reasonably speedy from Kaplan’s point

 of view: “an oppressed shareholder who has had to resort to extraordinarily

 costly litigation over a period of [four] years.”16 Kaplan submits that from this

 point of view, the five-year buyout is unreasonably long because it is longer in

 duration than the underlying litigation and threatens to “leave Kaplan’s

 interests subjugated to FHC and Ellis.”17

           While recognizing that Kaplan had prevailed at trial and was entitled to a

 remedy, I charged the Special Master with creating a remedy that recognized

 other interests as well.        Specifically, my Order precluded any schedule so

 speedy as to affect adversely “the corporation’s ability to . . . continue as a

 viable company in its business pursuits for the benefit of other shareholders.”18

 It was therefore wholly appropriate for the Special Master to consult both the

 Bankruptcy Code and commercial practice for guidance on standards of

 commercial reasonableness.         He noted, for example, that it is customary for

 shareholders in close corporations to be bought out over time19 and that it is a

 reasonable commercial expectation that a shareholder buyout will typically be

 funded over “five to ten years with no security or junior security and with

 modest interest if any.”20 He also considered how current economic conditions

 affect First Hartford’s core business and First Hartford’s financial condition as

 15   Pl.’s Objections at 5-6.
 16   Id. at 7.
 17   Id. at 2.
 18   Order at 1.
 19   Report at 43 n.20.
 20   Id. at 23.


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 he assessed the schedule by which First Hartford could buy Kaplan’s shares at

 the 2005 price, a price far above that supported by today’s market. The Special

 Master noted that First Hartford’s “operating performance . . . has been

 marginal and unsteady,”21 that it has a “very thin margin of available working

 capital”22 and that it must rely on “opportunistic” liquidations and refinancings

 to meet its “existing obligations.”23 I agree with his conclusion that, given its

 business model, First Hartford needs flexibility in meeting its existing business

 obligations and its obligations to Kaplan. Given current economic conditions,

 the Special Master found that five years would provide reasonable confidence

 in First Hartford’s ability to perform.24 He quite reasonably did not speed up

 the buyout by assigning net sales proceeds to Kaplan because of the

 consequences for First Hartford’s operations and because the five-year

 schedule is already on the speedier end of the spectrum of shareholder

 buyouts.      I agree with the Special Master that the five-year buyout is

 reasonably speedy for a shareholder buyout, and I conclude that the Special

 Master has crafted a reasonably speedy, commercially reasonable buyout

 schedule. The plaintiff’s objection to the five-year term is OVERRULED.

 21 Id. at 15.
 22 Id. at 17.
 23 Id. at 18.
 24 Id. at 43 n.20. Kaplan has argued that the Special Master has failed to consider how the

 proceeds from a recent sale of property in Bangor could speed up the buyout. Pl.’s Mem. in
 Opp’n to Defs.’ Mot. to Modify Report of the Special Master at 3-5 (Docket Item 222). Kaplan
 no longer contends that First Hartford failed to disclose the sale. Oral Argument Tr., Nov. 16,
 2009. But he suggests that First Hartford’s initial payment of $500,000 could be increased
 with the $900,000 net on the Bangor sale. Pl.’s Mem. in Opp’n at 5. The Special Master not
 only had access to First Hartford’s disclosure of the sale but also assumed that the company
 was already using the proceeds of the sale to fund the initial payment. See Report at 36 n.10.
 There is thus no need to ask the Special Master to consider how the Bangor sale could affect
 the speed of the buyout.


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 (C)      The Special Master’s Finding of Commercially Reasonable Security

          Kaplan contends that he is entitled to “the kind of protections that any

 lender would reasonably require”25 and that the Special Master has failed to

 provide them.26 Specifically, since First Hartford cannot provide security liens

 in the equity of its operating properties because of restrictions on its

 mortgages, Kaplan wants Ellis to pledge his shares as security for the

 promissory note to Kaplan.27 First Hartford and Ellis counter that a pledge of

 the Ellis shares would hamstring First Hartford’s ability to get necessary

 operating loans from other lenders,28 because other lenders are likely to require

 the Ellis shares as security for loans during the buyout term. I agree with the

 Special Master’s determination that First Hartford’s business model requires

 flexibility and that it can perform the buyout only if it has the latitude it needs

 to continue its operations. Thus, it is commercially reasonable not to require

 Ellis to pledge his shares as security for Kaplan’s note. It is also reasonable to

 require Kaplan to release his security interest in any asset upon tender of the

 fair market value of that asset by First Hartford, so that the company can

 continue with its business of disposing of its real estate from time to time.29

          I also find that the Special Master has provided Kaplan with

 commercially reasonable security. Kaplan will receive first priority interests in:

 (a) First Hartford’s 50% interest in CP Associates, which is worth more than


 25   Pl.’s Objections at 6.
 26   Id. at 10.
 27   Oral Argument Tr., Nov. 16, 2009.
 28   Id.
 29   Report at 42.


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 $3.2 million; (b) First Hartford’s 50% interest in Trolley Barn Associates, which

 is worth at least $225,000 just in the value of unencumbered land; (c) First

 Hartford’s rights to service and fee income from its agreements with CVS,

 which was $1.47 million in 2008 and $3.02 million in 2009, yielding a net

 income of $407,000 and $964,000 respectively; (d) an estimated $600,000 per

 year from three cash-generating properties; and (e) Kaplan’s own beneficially

 owned stock.30 Kaplan therefore receives security in assets far exceeding the

 value of his promissory note, sufficient to give him reasonable confidence that

 First Hartford will be able to pay the estimated $470,000 annual payments on

 his note. I note that in addition Ellis has personally guaranteed the payments

 on the note.      Without disclosure of the Ellis financial statements, I cannot

 place a value on the guarantee,31 but it does create some incentive to paying

 the note. Second, the proposed escrow account provides confidence-building

 transparency.       Kaplan will be able to see that First Hartford has made

 contributions to the account to service his note, and First Hartford cannot

 withdraw money from the account once it is deposited.

        I conclude that Kaplan will receive commercially reasonable security, and

 his objections on this issue are OVERRULED.32




 30 Defs.’ Resp. to Pl.’s Objection to the Report of the Special Master at 8 (Docket Item 221); see
 also Report at 38-43.
 31 The Special Master did not consider Ellis’s guarantee to be part of the commercially

 reasonable security. Report at 35. The plaintiff’s objection to the guarantee is therefore
 inapposite.
 32 This includes Kaplan’s request to be able to participate in the sale or merger of First Hartford

 on equal terms with other shareholders. Pl.’s Objections at 11-12. Whatever happens to the
 value of First Hartford’s stock, Kaplan is guaranteed a value of $4.87 per share.


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 (D)    Prejudgment Interest

        Prejudgment interest is controlled by Maine law.33                   The parties agree

 that, under Maine law, I have discretion to award prejudgment interest34 and

 that Maine law has a presumption in favor of such awards.35 The defendants

 do not challenge the Special Master’s finding that First Hartford can pay

 prejudgment interest,36 but they do contend that an award of prejudgment

 interest would be inequitable in this case and that to the extent that there is a

 presumption in favor of the award, either Kaplan has lost the benefit of the




 33 14 M.S.R.A. § 1602-B; see also Crowe v. Bolduc, 365 F.3d 86, 91 (1st Cir. 2004) (noting that
 in a diversity action, “[state] law governs the plaintiff's entitlement to prejudgment interest”).
 The Maine statute allows prejudgment interest at 3% above the one-year Treasury bill rate from
 the last full week of the calendar year immediately prior to the year in which a notice of claim
 is served. 14 M.R.S.A. § 1602-B(3). On petition of a non-prevailing party and a showing of
 good cause, I may fully or partially waive an award of prejudgment interest. 14 M.S.R.A.
 § 1602-B(5).
 34 Defs.’ Mot. to Modify the Report of the Special Master Pursuant to Fed. R. Civ. P. 53(f)(2) at 2

 (Docket Item 214); Pl.’s Mem. in Opp’n at 2.
 35 Defs.’ Reply to Pl.’s Opp’n to Mot. to Modify Report of the Special Master at 2 (Docket Item

 226); Pl.’s Mem. in Opp’n at 2; see also Pierce v. Central Maine Power Co., 622 A.2d 80, 85 (Me.
 1993) (interpreting 14 M.R.S.A. § 1602 “as presuming that the prevailing party is entitled to
 prejudgment interest on the rationale that the presumption ‘encourages the defendant to
 conclude a pretrial settlement of clearly meritorious suits’ (quoting Simpson v. Hanover Ins.
 Co., 588 A.2d 1183, 1185 (Me. 1991)); Crowe, 365 F.3d at 91 (“Maine law broadly entitles
 prevailing civil plaintiffs to prejudgment interest as a matter of right.” (citing 14 M.R.S.A.
 § 1602-B and Sawyer v. Walker, 572 A.2d 498, 499 (Me. 1990)). Under Maine law, an award of
 prejudgment interest serves two purposes. First, it “compensates an injured party for the
 inability to use money rightfully belonging to that party between the date suit is filed and the
 date judgment is entered.” Jasch v. Anchorage Inn, 799 A.2d 1216, 1219 (Me. 2002) (quoting
 Guiggey v. Great N. Paper, Inc., 704 A.2d 375, 377 (Me. 1997)). Second, the possibility of a
 prejudgment award “encourages the defendant to conclude a pretrial settlement of clearly
 meritorious suits.” Id. A plaintiff’s right to prejudgment interest “is not absolute” and may be
 lost if, for example, a plaintiff “causes delay” or otherwise acts unreasonably. Pierce, 622 A.2d
 at 85 (quoting Simpson v. Hanover Ins. Co., 588 A.2d 1183, 1185 n.3 (Me. 1991)).
 36 The defendants do argue that the prejudgment interest award would deprive First Hartford of

 “badly needed cash, which could be used to run and grow the business for the benefit of all.”
 Defs.’ Resp. at 14.


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 presumption by virtue of his conduct during litigation or the circumstances of

 the case provide good cause for waiving it.37

        The defendants say that Kaplan should not receive prejudgment interest

 because his unreasonable valuation of the company “made settlement

 impossible.”38 Thus, they say, an award of prejudgment interest does not serve

 the purpose of encouraging early settlement of meritorious cases.                     Kaplan

 asserts that First Hartford never made a settlement offer,39 a contention that

 the company has not disputed, and points to my earlier observation that

 prejudgment interest is a crude measure of the “investment value of his shares”

 during the lawsuit.40 Having observed the conduct of the parties in this case

 for more than four years, I cannot conclude that Kaplan is primarily

 responsible for the length of this highly contentious litigation.41

        The defendants also argue that it would be inequitable to award Kaplan

 prejudgment interest because he enjoyed his full rights as a shareholder

 throughout the litigation, could have sold his shares at any time, received a

 dividend of ten cents per share in 2006, and obtained the time value of his



 37 The amici curiae argue that an award of prejudgment interest would “amount to an
 extraordinary, unfair windfall to one minority stockholder” that would be inequitable given the
 plaintiff’s recovery and inappropriate since “none of the policy interests under lying
 prejudgment interest” are implicated here. Reply Mem. of Amici Curiae in Support of Report of
 the Special Master at 2 (Docket Item 225).
 38 Defs.’ Resp. at 12.
 39 Pl.’s Reply Mem. in Support of Objections to the Report of the Special Master at 3 (Docket

 Item 229). Morales v. Rosenberg, 919 So. 2d 476 (Fla. Dist. Ct. App. 3d Dist. 2005), is
 therefore inapposite.
 40 Remedy Decision at 8.
 41 As the Law Court has explained, the Maine legislature did not intend prejudgment interest to

 be a measure of damages in a particular case but rather “a procedural device to control the
 parties’ conduct of the trial.” Ginn v. Penobscot Co., 342 A.2d 270, 281 (Me. 1975).


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 money by not sharing in the losses suffered by other shareholders.42 The first

 two arguments are unconvincing.              Kaplan was a minority shareholder who

 suffered oppression and who was actively suing First Hartford for relief as a

 result.    The defendants’ argument that Kaplan could simply have sold his

 shares amounts to saying that Kaplan could have abandoned his pursuit of the

 actual value of his investment.           The fourth argument is also unpersuasive.

 Kaplan filed his Complaint in 2005, but was unable to withdraw his investment

 in the company and place it at work elsewhere as I have ruled he was entitled

 to do.    Running prejudgment interest from the Complaint’s filing is a crude

 measure of what Kaplan could have done if he had obtained immediate relief. I

 do agree, however, that the award of prejudgment interest should be reduced

 by the amount of the dividend Kaplan received in 2006; the dividend flows from

 ownership of the stock; the interest flows from what hypothetically would have

 happened if he had been able to rid himself of his stock. He cannot have it

 both ways.

          The parties agree that any prejudgment interest should accrue at the

 fixed statutory rate,43 but differ as to whether the interest should be

 compound. The prejudgment interest statute44 does not address compounding

 but Kaplan argues that Maine case law and one of my previous cases show that

 prejudgment interest should be compound.45 McLoon, the Maine case, dealt


 42 Defs.’ Resp. at 11, 13, 14.
 43 See Defs.’ Resp. 15. The plaintiff initially argued that the interest rate should be floating,
 Pl.’s Objections at 13, but abandoned this argument at oral argument on November 16, 2009.
 44 14 M.S.R.A. § 1602-B.
 45 Pl.’s Objections at 12-13.




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 with    prejudgment       interest    pursuant      to    a   previous     statute     governing

 shareholder’s appraisal rights that the Supreme Judicial Court explicitly

 distinguished from the kind of prejudgment interest at stake here.46 McLoon

 held that prejudgment interest under the appraisal rights statute was a

 substantive right rather than a “procedural device to encourage expeditious

 litigation.”47 McLoon’s logic therefore has no application here. It is true that in

 Warren v. United Parcel Service, Inc.,48 I awarded compounding under the

 circumstances, but I made no ruling that the statute required compounding,

 and I had already partially waived interest to avoid giving the plaintiff interest

 on backpay during the periods when he had not yet earned it.49 Here, I find

 that compounding is not appropriate.                The Special Master determined that

 First Hartford could afford prejudgment interest on the assumption that it

 would be simple.50 An award of compound interest could upset the balance the

 Special Master has worked so hard to achieve,51 and fairness to the other

 minority shareholders requires that Kaplan receive no more than equity

 requires.

        The     plaintiff’s    request     for    prejudgment        interest,    but     without

 compounding, is GRANTED.

 46 In re Valuation of Common Stock of McLoon Oil Co., 565 A.2d 997, 1007 (Me. 1989).
 47 Id.
 48 495 F. Supp. 2d 86 (D. Me. 2007).
 49 Id. at 90.
 50 Report at 20 n.8.
 51 The Special Master could “not articulate a precise pathway for FHC to raise [the] funds” to

 pay prejudgment interest, but he concluded that since the “the obligation is deferred for a
 significant period of time and . . . is not terribly large in context of all of [FHC’s] assets,” it
 could likely pay a balloon payment of prejudgment interest at the end of five years. Report at
 38 n.15. I am unwilling to impose an additional burden that may limit the company’s ability to
 meet its obligations.


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 (E)    Postjudgment Interest

        Postjudgment interest is controlled by federal statute.52                The Special

 Master has proposed that First Hartford pay postjudgment interest at the legal

 postjudgment rate for twelve (12) months as an incentive for First Hartford to

 pay as much of the note as much as possible in the first year.53                      He has

 proposed that thereafter First Hartford pay interest based on the average rate

 then payable to its first mortgage creditors.54            The Special Master has also

 proposed that the company pay no interest on the award of prejudgment

 interest.55    Kaplan objects that the interest rates are not commercially

 reasonable and that First Hartford should pay interest on the full amount of its

 obligations, including prejudgment interest.

        First, I find that the Special Master’s proposal for postjudgment interest

 is reasonable. The first year is the statutory rate and given its low level, First

 Hartford has a strong incentive to pay as much of the note as possible during

 the first year to avoid paying the higher mortgage-based rate thereafter.

 Second, it is hard to imagine a rate more commercially reasonable than the one

 the Special Master has devised for interest after the initial year: Kaplan will

 52 See 28 U.S.C. § 1961; see also Fratus v. Republic Western Ins. Co., 147 F.3d 25, 30 n.5 (1st
 Cir. 1998) (applying Section 1961 in a diversity case).
 53 Report at 36.     It is an “incentive” because the current rates for Treasuries make
 postjudgment interest so low, given the statutory formula—“[Postjudgment] interest shall be
 calculated from the date of the entry of the judgment, at a rate equal to the weekly average 1-
 year constant maturity Treasury yield, as published by the Board of Governors of the Federal
 Reserve System, for the calendar week preceding the date of the judgment.” 28 U.S.C.
 § 1961(a).
 54 Report at 37. The defendants have not objected to the use of an interest rate higher than

 that provided for by the federal postjudgment interest statute, 28. U.S.C. § 1961. See Def.’s
 Mot. to Modify at 1-2; Def.’s Resp. at 10 (referring to the mortgage-based rate as “entirely
 reasonable”).
 55 Report at 36.




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 receive an interest rate based on what is commercially available to First

 Hartford.

         But Kaplan is correct that First Hartford should pay interest on the full

 amount of its debt including prejudgment interest. Although Maine does not

 allow for postjudgment interest on prejudgment interest,56 federal law does.57

 Accordingly, the plaintiff’s objections to the interest rates are OVERRULED, but

 his objection to the non-payment of postjudgment interest on prejudgment

 interest is SUSTAINED.

         As a practical matter, it is necessary to set a date on which prejudgment

 interest stops accruing and postjudgment interest starts.                       Under Kaiser

 Aluminum, post-judgment interest runs from a “date certain” on the entry of

 judgment.58             “[A]   finding   of   liability   alone   without   a   corresponding

 determination on damages does not suffice to start the clock on postjudgment

 interest.”59 Rather, postjudgment interest begins to accrue when it becomes

 possible to ascertain money damages in a “meaningful way.”60 “[D]amages are

 considered to have been ascertained when all that remains is a ‘mechanical

 task of computing’ the exact sum based on the court’s orders.”61                        Here,


 56 14 M.R.S. § 1602-B(6).
 57 See, e.g., Buckley v. Brown Plastics Mach., LLC, 368 F. Supp. 2d 167, 174 (D.R.I. 2005).
 58 Kaiser Aluminum & Chem. Corp. v. Bonjorno, 494 U.S. 827, 835 (1990).
 59 Radford Trust v. First Unum Life Ins. Co. of Am., 491 F.3d 21, 24 (1st Cir. 2007) (citing

 Happy Chef Sys., Inc. v. John Hancock Mut. Life Ins. Co., 933 F.2d 1433, 1435, 1437 (8th Cir.
 1991)).
 60 Id. (quoting Kaiser Aluminum, 494 U.S. at 836).
 61 Id. at 25 (quoting EEOC v. Gurnee Inns, Inc., 956 F.2d 146, 149 (7th Cir. 1992)). In Gurnee

 Inns, the defendant argued that a judgment entered by a magistrate judge “was not a money
 judgment but an injunctive judgment for specific performance (the delivery to certain
 individuals of certified checks in specified amounts), which when modified to allow [the
 defendant] to compute the applicable payroll deductions, did not set forth specific amounts for
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 although it is clear that Kaplan is entitled to a money judgment, it will not be

 possible to specify the fixed amount of his award until the parties determine

 the number of shares that Kaplan owns. Once the parties know how many

 shares Kaplan owns, the amount of his money judgment can be calculated

 using the $4.87/share valuation, and judgment can be entered.                     Until such

 time as Kaplan’s award can be calculated, therefore, prejudgment interest will

 continue to accrue.

        For the reasons stated above, I hereby ORDER as follows:

        1.     The plaintiff’s Objections to the Report of the Special Master are

 OVERRULED IN PART and SUSTAINED IN PART.

        2.     The defendants’ Motion to Modify the Report of the Special Master

 is DENIED.

        3.     A standing special master shall be appointed with the powers and

 duties described in the Report of the Special Master. I will appoint Attorney

 George J. Marcus unless, within ten (10) days of this Order, the parties show

 good cause why he should not be appointed.

        4.     The plaintiff’s request for prejudgment interest from September 15,

 2005, until the entry of final judgment is GRANTED, subject to an offset for the

 2006 dividend he received. Such interest shall be simple.


 the checks.” 956 F.2d at 149. The defendant contended that postjudgment interest was
 improper “because 28 U.S.C. § 1961 allows interest only on ‘money judgments’ in a sum
 certain, and the checks it was ordered to deliver were not for a specific amount.” Id. The
 Seventh Circuit found that “[n]either argument survived even minimal scrutiny” because an
 order for back pay was a money judgment, even though “equitable in nature,” and because “the
 award[] did not lose [its] character as [a] sum[] certain simply because [it was] subject to the
 mechanical task of computing the payroll deductions.” Id.


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       5.         The clerk shall determine the fixed rate for prejudgment interest

 pursuant to 14 M.R.S.A. § 1602-B(3).

       6.         Postjudgment interest shall be calculated at the rates specified by

 the Report of the Special Master on the entire money judgment, including

 prejudgment interest.

       7.         For the purposes of calculating prejudgment and postjudgment

 interest, final judgment shall enter when the parties have determined the

 precise number of shares owned by Kaplan.               If, within three weeks of this

 Order,     the    parties   cannot   agree   upon   a   procedure   for   making   this

 determination, the standing special master shall resolve it.

       8.         First Hartford shall begin performing the buyout on the terms laid

 out in the Report of the Special Master upon entry of final judgment.

       SO ORDERED.

       DATED THIS 23RD DAY OF NOVEMBER, 2009


                                                 /S/D. BROCK HORNBY
                                                 D. BROCK HORNBY
                                                 UNITED STATES DISTRICT JUDGE




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